                 United States Court of Appeals
                            For the Eighth Circuit
                        ___________________________

                                No. 24-1251
                        ___________________________

                                 Sheng-Wen Cheng

                        lllllllllllllllllllllPlaintiff - Appellant

                                           v.

P. Grenier, sued in his official and individual capacities; United States of America

                      lllllllllllllllllllllDefendants - Appellees
                                       ____________

                    Appeal from United States District Court
                         for the District of Minnesota
                                 ____________

                            Submitted: August 16, 2024
                              Filed: August 21, 2024
                                  [Unpublished]
                                  ____________

Before KELLY, STRAS and KOBES, Circuit Judges.
                           ____________

PER CURIAM.

      Sheng-Wen Cheng appeals after the district court1 granted defendants’ motion
to dismiss his claims under Bivens v. Six Unknown Named Agents of Fed. Bureau

      1
       The Honorable Wilhelmina M. Wright, United States District Judge for the
District of Minnesota.
of Narcotics, 403 U.S. 388 (1971).2 Upon careful review of the record and the
parties’ arguments on appeal, we conclude that the district court did not err in
dismissing the action. See Mitchell v. Dakota Cnty. Soc. Servs., 959 F.3d 887, 896
(8th Cir. 2020) (de novo review of Rule 12(b) dismissal); Farah v. Weyker, 926 F.3d
492, 497 (8th Cir. 2019) (de novo review of whether case is type for which Bivens
remedy is available). To the extent Cheng intended to bring official-capacity claims
for damages against defendants, the claims were barred by sovereign immunity. See
Buford v. Runyon, 160 F.3d 1199, 1203 &amp; n.6 (8th Cir. 1998). We further conclude
the district court correctly determined that Cheng failed to state an individual-
capacity claim. See Egbert v. Boule, 596 U.S. 482, 492-93 (2022) (even a “single
reason” to hesitate is sufficient to preclude recognition of a new Bivens cause of
action); Ahmed v. Weyker, 984 F.3d 564, 567 (8th Cir. 2020) (expanding Bivens is
“a disfavored judicial activity” (quoting Ziglar v. Abbasi, 582 U.S. 120, 135 (2017))).

      Accordingly, we affirm. See 8th Cir. R. 47B.
                     ______________________________




      2
       Cheng has waived any challenges to the denial of injunctive relief, and the
dismissal of his negligence and misrepresentation claim under the Federal Tort
Claims Act. See Ahlberg v. Chrysler Corp., 481 F.3d 630, 638 (8th Cir. 2007).

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